Case: 2:17-cv-00463-GCS-KAJ Doc #: 68 Filed: 09/28/18 Page: 1 of 1 PAGEID #: 1411



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION




JASON SCHAUMLEFFEL,

                        Plaintiff,


        vs.                                                      Civil Action 2:17-cv-463
                                                                 Judge George C. Smith
                                                                 Magistrate Judge Jolson
MUSKINGUM UNIVERSITY, et al.,

                        Defendants.



                                                ORDER


        This case is referred to mediation before Magistrate Judge Mark R. Abel (ret.). The mediation is

scheduled for October 9, 2018 at 10:00 a.m. The parties shall send position statements to Magistrate Judge

Abel via email (abel.mark@gmail.com) by October 3, 2018.



 September 28, 2018                                        s/Kimberly A. Jolson
                                                               Kimberly A. Jolson
                                                         United States Magistrate Judge
